4:24-cv-03177-SMB-MDN Doc# 64-14
Short Message Report

Conversations: 1
Total Messages: 4

Outline of Conversations

CJ +14029366114 » 4 messages on 10/7/2024

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Participants: 2
Date Range: 10/7/2024

<4026415432> » <4029366114>

Daws0001227

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Messages in chronological order (times are shown in GMT +00:00)

Es

+14029366114

<4026415432> “@ 10/7/2024, 2:27 PM

File "bdcecfc32-78cf-4dc9-b67b-ae183792909d.vcf" is missing.
Attachment: ~_Library_SMS_Attachments_87_07_9117B4C7-42BE-4C2C-ADE8-581B7B4206E8_Chuck.vef

<4026415432> “@ 10/7/2024, 2:27 PM
Chuck. vcf

<4026415432> @t 10/7/2024, 2:28 PM
Call him for dispatch

>> <4029366114> > 10/7/2024, 7:48 PM

Thank you

Receipts + <4026415432> [R:10/7/2024, 8:04 PM}

Daws0001228

